Case 9:18-cr-80109-RLR Document 6 Entered on FLSD Docket 05/10/2018 Page 1 of 1



                          UNITED STATES DISTRICT CO URT
                          SO UTHERN DISTRICT O F FLO RIDA

                                   Case No.18-8211-W M



 UNITED STATE O F AM ERICA ,                                       FILED by                      D.C.

                           Plaintiff,                                      MAï 1 2213
 VS.                                                                       STEVE.N M LARIMORE
                                                                            CLERK tl.è nl
                                                                                        s'
                                                                                         r.cT.
                                                                           saD.oFFL.i.-w.Ra.


 JOHN JOSEPH O 'G RADY ,

                           Defendant.
                                           /
           GOVERNM ENT'S M OTIO N TO UNSEAL CRIM INAL CO M PLAINT

       CO M ES NOW the United States of Am erica, by and through the undersigned

 AssistantUnited States Attorney, and hereby requests this Honorable Courtto unsealthe

 Crim inalCom plaintand Affidavitfiled in supportthereof, due to the above-referenced

 defendanthaving been arrested .




                                        Respectfully subm itted,

                                        BENJAM IN G .G REENBERG
                                        UNITED STATES ATTO RNEY

                                                                   f
                                   B                .
                                        J HN C .M c ILL
                                           SISTANT UNITED S            ATTO RNEY
                                        Adm in.No.A5500228
                                        500 Australian Ave., Suite 400
                                        W estPalm Beach, FL 33401
                                        Office:(561)820-8711
                                        FAX: (561)820-8777
                                        Em ail:iohn.mcm illana usdoinov.
